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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                      TYLER DIVISION



    TEXAS MEDICAL ASSOCIATION, et al.,

                        Plaintiffs,

              v.                                       No. 6:22-cv-00372-JDK

                                                       Lead Consolidated Case
    U.S. DEPARTMENT OF HEALTH AND
    HUMAN SERVICES, et al.,

                        Defendants.


                                      NOTICE OF APPEAL

           PLEASE TAKE NOTICE that all Defendants—the United States Department of Health and

Human Services; the United States Department of the Treasury; the United States Department of

Labor; the Office of Personnel Management; Xavier Becerra, in his official capacity as the Secretary

of Health and Human Services; Janet Yellen, in her official capacity as the Secretary of the Treasury;

Julie Su, in her official capacity as the Acting Secretary of Labor1; and Kiran Ahuja, in her official

capacity as the Director of the Office of Personnel Management—hereby appeal to the United States

Court of Appeals for the Fifth Circuit from the Memorandum Opinion and Order (ECF No. 99)

granting summary judgment to the Plaintiffs and denying summary judgment to the Defendants,

entered in this action on February 6, 2023; from the Final Judgment (ECF No. 100) in favor of the

Plaintiffs, entered in this action on the same date; and from all previous rulings in these consolidated

actions.

Dated: April 6, 2023                                    Respectfully submitted,



1
    See Fed. R. Civ. P. 25(d).
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on April 6th, 2023, I electronically filed the foregoing document through

the Court’s CM/ECF system which will send notification of such filing to all counsel of record.

                                                                              /s/ Anna Deffebach
                                                                              Anna Deffebach
